    Case 2:17-cr-00201-LMA-DMD Document 181-1 Filed 11/19/18 Page 1 of 12




                         UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA

versus                                              DOCKET No. 17-201

LILBEAR GEORGE                                      SECTION “I”

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MEMORANDUM IN SUPPORT OF MOTION TO DECLARE THE FEDERAL
                      DEATH PENALTY ACT
          AND THE DEATH PENALTY UNCONSTITUTIONAL

         Defendant Lilbear George, by and through undersigned counsel, respectfully

moves this Court to strike the Federal Death Penalty Act (FDPA), because it

violates the Fifth and Sixth Amendments of the Constitution and for the following

reasons:

               ORIGINS OF THE FEDERAL DEATH PENALTY ACT

         Enacted in 1994 as 18 U.S.C. §§ 3591-3598, the FDPA set forth procedures

for the imposition of the death penalty purporting to safeguard the to due process

and confrontation rights of the accused. These procedures were a response to

concerns expressed by the Supreme Court about arbitrariness in the application of

the death penalty. See Furman v. Georgia, 408 U.S. 238, 253 (1972) (where

Justice Douglas expressed the Court's unease with “the uncontrolled discretion of

judges or juries . . . .”).


                                          1
   Case 2:17-cr-00201-LMA-DMD Document 181-1 Filed 11/19/18 Page 2 of 12




                         ITS FLAWED REALIZATION

   1. The FDPA fails to provide a reasoned choice in sentencing and violates the
      defendant's Fifth Amendment right to Due Process and his Sixth
      Amendment right to trial by an impartial jury

      When the Supreme Court reinstated the death penalty in 1976, it required

that the jury's discretion be guided and limited in order to “minimize the risk of

wholly arbitrary and capricious action.” Gregg v. Georgia, 428 U.S. 153, 189

(1976). The central components of this “guided discretion” included objectively

narrowing the pool of death eligible defendants and implementing individualized

sentencing where the defendant's character and background were put into evidence

and the jury was given unfettered discretion to exercise mercy. Such a balance of

discretion and objective reliability has proved unattainable, however, as is

evidenced by the findings of the Capital Jury Project (CJP). Begun in 1991as a

means for gauging the success of guided discretion post-Gregg, the CJP is an

ongoing study about jurors' decision-making processes. The CJP has thus far

conducted in-depth interviews with 1198 jurors who served on capital cases in

fourteen states, and the empirical data has shown that the arbitrariness which the

Supreme Court found unconstitutional in Furman v. Georgia is still a dominant

characteristic in jurors' capital sentencing decisions. 408 U.S. 238, 295 (1972). For

example, many jurors believe that the death penalty is a mandatory sentence for

murder, regardless of the jury instructions; many jurors presume that a guilty
                                         2
    Case 2:17-cr-00201-LMA-DMD Document 181-1 Filed 11/19/18 Page 3 of 12




verdict mandates the death penalty; and, most disturbingly, the very fact of death-

qualifying a jury leads to a "presumption of death"; even indecision tends to be

resolved in favor of death.1

       While Congress attempted to prevent such arbitrariness with the FDPA,

recent judicial decisions have concluded that the FDPA operates in an arbitrary and

capricious manner. The Connecticut Supreme Court recently held that while the

FDPA seeks to narrow defendants' death penalty eligibility, it nonetheless gives

juries nearly unfettered discretion in sentencing. State of Conn. v. Santiago, 318

Conn. 1, 25, 122 A.3d 1 (Conn. 2015). After conducting nearly two weeks of

evidentiary hearings on the constitutionality of the death penalty, a Vermont

federal district court found that the death penalty is arbitrarily applied and that the

FDPA “falls short of the standard required in Furman . . . and in Gregg . . . for

identifying defendants who meet objective criteria for imposition of the death

penalty.” United States v. Fell, 5:01-cr-12-01 (D. Vt. Dec. 13, 2016). Although

that court subsequently upheld the constitutionality of the FDPA, citing Supreme

Court precedent, the judge noted that arbitrariness and bias “play leading roles” in

its operation. Id. at 3. The Washington Supreme Court ruled that the death penalty

was arbitrary and racially biased. State of Washington. v. Gregory, 427 P.3d 621

(2018).
1
 William J. Bowers, The Capital Jury Project: Rationale, Design and Preview of Early
Findings, 70 IND. L.J. 1043, 1054, 1074 (1995).
                                                3
    Case 2:17-cr-00201-LMA-DMD Document 181-1 Filed 11/19/18 Page 4 of 12




       2. The Federal Death Penalty is unevenly applied and discriminates against
          minorities
       As is highlighted in these recent decisions, and well supported by empirical

evidence, invidious racial bias informs both the prosecution's decision to seek a

death sentence and the jury's decision to select it. By 1994 – barely six years after

the return of a “modern” federal death penalty – obvious racial disparities surfaced

in the Justice Department’s prosecution of federal death penalty cases. In response,

the House Subcommittee on Civil and Constitutional Rights initiated an

investigation and concluded as follows:

              Race continues to plague the application of the death penalty in the
              United States. On the state level, racial disparities are most obvious in
              the predominant selection of cases involving white victims. On the
              federal level, cases selected have almost exclusively involved
              minority defendants.2

By 2004, 75 per cent of defendants approved for capital prosecution were

minorities, and 73 per cent of defendants on death row were minorities, hardly an

improvement.3 Evidence of the race-effect of the death penalty is particularly

probative in states of the former Confederacy.              Santiago, 318 Conn. at 81.

Louisiana fares poorly in this statistic, having demonstrated a consistent racial bias


2
 Racial Disparities in Federal Death Penalty Prosecutions 1988-1994, Staff Report by the
Subcommittee on Civil and Constitutional Rights, Committee on the Judiciary, 103rd Congress,
2nd Sess., Mar. 1994, available at https://www.ncjrs.gov/pdffiles1/153840.pdf.
3
 Kevin McNally, Race and the Federal Death Penalty: A Nonexistent Problem Gets Worse, 53
DEPAUL L. REV. 1617 (2004).
                                            4
    Case 2:17-cr-00201-LMA-DMD Document 181-1 Filed 11/19/18 Page 5 of 12




in state death penalty convictions.4         Despite the goals of the FDPA, racial

inequalities remain endemic to prosecution, conviction, and sentence of death, and

therefore violates both the Eight Amendment's prohibition against arbitrariness as

well as the Fifth Amendment's right to due process of law.

       3. The Department of Justice's death penalty protocol is shrouded in secrecy
          and violates the defendant's Sixth Amendment right to public trial and his
          Fifth Amendment right to Due Process

       In 2014, the Department of Justice included a revised death penalty protocol

in the United States Attorney's Manual at sections 0-10.010 to 9-10.200. Attorney

General Eric Holder promoted the amendments as expediting the process for

determining whether a case was death eligible; the mechanism was “pre-indictment

review.”5 This expedited decision-making process is limited to DOJ officials and

their investigating agencies.     U.S. Attorney's Manual, Section 9-10.050.            The

government's interest in hastening the determination of death-penalty eligibility

through a highly confidential process which excludes both the defendant and

defense counsel flies in the face of the rationale behind the Sixth Amendment's

guarantee of a public trial.



4

 Frank R. Baumgartner & Tim Lyman, Louisiana Death-Sentenced Cases and Their Reversals,
1976-2015,
5
            VII, THE J. OF RACE, GENDER AND POVERTY 58, 74 (2016).
Attorney General Eric Holder, Memorandum for All Federal Prosecutors: Revisions to Death
Penalty (April 7, 2014) at 1,
https://www.justice.gov/oip/foialibrary/ag_memo_revisions_death_penalty_protocol/download.
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    Case 2:17-cr-00201-LMA-DMD Document 181-1 Filed 11/19/18 Page 6 of 12




            This type of proceeding, where the prosecutor decides to seek the death

sentence in a closed meeting, awakens what Justice Black called the “traditional

Anglo-American distrust for secret trials . . . [which] symbolized a menace to

liberty.” In re Oliver, 333 U.S. 257, 268-69 (1948). Prior to the 2014 changes to

the DOJ's death protocol, one witness at a Senate Judiciary Committee hearing

noted with concern that the FDPA already amounted to an “attempt to create an

airtight regime of secrecy over the entire deliberative process.”6               By further

“streamlining” and closeting the government's decision-making procedure, the

DOJ's administration of the FDPA violates both the Sixth Amendment right to

public trial and the Fifth Amendment's right to a fair, orderly, and just judicial

proceeding.

       4.      The relaxed evidentiary standard of the FDPA violates the defendant's
               Fifth Amendment right to Due Process and his Sixth Amendment
               rights to Confrontation and cross-Examination

       The FDPA runs afoul of the Confrontation Clause of the Sixth Amendment

by permitting hearsay evidence to establish an aggravating factor. The government

may present hearsay evidence “regardless of its admissibility under the rules

governing admission of evidence at criminal trials . . . .” 18 U.S.C. § 3593(c). The

statute provides exceptions, namely the risk of creating prejudice, confusion, or


6

United States Senate, Committee on the Judiciary, Oversight of the Federal Death Penalty, June
27, 2007. 110th Cong. GPO, No. 110-43.
                                              6
   Case 2:17-cr-00201-LMA-DMD Document 181-1 Filed 11/19/18 Page 7 of 12




misleading the jury. Id. However, the Supreme Court's ruling in Apprendi v. New

Jersey and its progeny compels the conclusion that the aggravating factors function

as elements, because they are sentence “enhancers,” and therefore require that a

jury find the existence of an aggravating factor beyond a reasonable doubt. 530

U.S. 466 (2000). In Ring v. Arizona, the Court applied Apprendi to a state law

capital case and reversed a death sentence, holding that aggravating factors must be

found by a jury beyond a reasonable doubt. 536 U.S. 584 (2002).

      The Supreme Court's holding in Ring, read together with its holding in

Crawford v. Washington renders section 3593(c) unconstitutional, because it

violates the Confrontation Clause of the Sixth Amendment. 541 U.S. 36 (2004).

Writing for the majority in Crawford, Justice Scalia held that testimonial hearsay

evidence "deemed reliable by a judge is fundamentally at odds with the right of

confrontation." Id. at 61. The Court defined "testimonial hearsay" as including

affidavits, custodial examinations, prior testimony where the defendant had no

opportunity to cross-examine, depositions, confessions, or statements made to the

police.   Id. at 51-52.   The FDPA's relaxed evidentiary standard deprives the

defendant of his Sixth Amendment confrontation rights by allowing the trial judge

to admit testimonial hearsay. In light of Crawford, the Fifth Circuit held hearsay

was admissible at a sentencing proceeding, but warned that, “Our conclusion . . .

does not doom defendants to being sentenced to death on the basis of unreliable
                                         7
   Case 2:17-cr-00201-LMA-DMD Document 181-1 Filed 11/19/18 Page 8 of 12




hearsay evidence.” United States v. Fields, 483 F.3d 313, 337 (5th Cir. 2007). The

dissent observed that, “The value of confrontation is never more vivid than when

the state puts a defendant to death based on testimony he had no opportunity to

challenge.” Id. at 362-63. By allowing the government to present aggravating

factors, which function as elements because they extend the maximum sentence,

the FDPA undermines the heightened scrutiny and reliability required of evidence

presented in capital cases. Woodson v. North Carolina, 428 U.S. 280 (1976). The

death penalty is fundamentally and qualitatively different from every other

punishment because of its severity and finality and is “unique . . . in its absolute

renunciation of all that is embodied in our concept of humanity.” Furman v.

Georgia, 408 U.S. 238, 306 (1972) (Stewart, J., concurring). The Supreme Court

recognized this difference, requiring that aggravating factors must be proven

beyond a reasonable doubt, which conflicts with the FDPA's relaxed evidentiary

standard.

      5.    The Federal Death Penalty is contrary to evolving standards of
            decency

      The infliction of the death penalty suffers from the same procedural

infirmities and impermissibly discriminatory effects as the FDPA. Justice White

set forth a test for Eighth Amendment “cruel and unusual punishments”: 1) when

the punishment serves no acceptable goal except for the infliction of pain and


                                         8
   Case 2:17-cr-00201-LMA-DMD Document 181-1 Filed 11/19/18 Page 9 of 12




suffering; 2) when the punishment is disproportional to the crime in severity; 3)

when the punishment is not informed by objective factors, particularly public and

legislative attitudes and juries' sentencing decisions. Coker v. Georgia, 433 U.S.

584, 592 (1977). Because the death penalty leads to the execution of innocent

people, it fails every prong of this test. The Second Circuit in United States v.

Quinones had two important holdings in this regard, one procedural and one

substantive.    313 F.3d 49 (2d Cir. 2002).       First, the Court found that it had

jurisdiction to hear a constitutional challenge to the FDPA prior to trial. Id. at 52.

Second, after lengthy consideration, the Court ruled that the capital punishment

violated the Eighth Amendment because it denied the defendant's "fundamental

right to the opportunity for exoneration over the course of one's natural life." Id. at

66-67. The federal death penalty not only denies this right of future exoneration, it

does so by presenting hearsay testimony to a jury operating under the

“presumption of death.”

      6.       The discretion to impose death is not sufficiently limited as illustrated
               by the facts of this case.

      The Eighth Amendment requires that the government meaningfully narrow

the class of persons for whom death is an available penalty. Godfrey v. Georgia,

446 U.S. 420, 427 (1980). Quoting Justice White's concurrence in Furman, the

Court wrote that, “A capital sentencing scheme must, in short, provide a


                                            9
  Case 2:17-cr-00201-LMA-DMD Document 181-1 Filed 11/19/18 Page 10 of 12




‘meaningful basis for distinguishing the few cases in which [the penalty] is

imposed form the many cases in which it is not.” Id. This means that the death

penalty is available only for the most severe murders and for the most culpable

offenders. See Kennedy v. Louisiana, 554 U.S. 407, 420 (2000) (stating “capital

punishment must be limited to those offenders who commit ‘a narrow category of

the most serious crimes’ and whose extreme culpability makes them ‘the most

deserving of execution’” when reaffirming unconstitutionality of death penalty for

nonhomicide crimes (citations omitted)); Enmund v. Florida, 458 U.S. 782 (1982)

(holding death penalty unconstitutional for one who does not kill, intend to kill, or

intend for lethal force to be used); Zant v. Stephens, 462 U.S. 862, 877 (1983)

(stating the Constitution requires that “an aggravating circumstance must genuinely

narrow the class of persons eligible for the death penalty and must reasonably

justify the imposition of a more severe sentence on the defendant compared to

others found guilty of murder”).

      Although in the instant case, Mr. George was an alleged participant in a

robbery which resulted in a death, Mr. George is not being charged with killing

Mr. Trochez. See NOI Doc. 147.         Thus, by the government’s own calculated

admission,    Mr. George falls short of the standard of “most deserving of

execution.”   The two factors of Mr. George's alleged role in an armored car

robbery and his alleged motivation of pecuniary gain, if proven by the government,
                                         10
   Case 2:17-cr-00201-LMA-DMD Document 181-1 Filed 11/19/18 Page 11 of 12




would place him outside of the kind of criminal conduct which the Supreme Court

considers to be proportionately punished by the death penalty. Indeed, the Supreme

Court has held that the death penalty is disproportionate when the crime was not

intended to result in the death of the victim. Kennedy, 554 U.S. at 420.

                                  CONCLUSION

      The federal death penalty, as it is codified in the FDPA, is inherently flawed

and does not meet constitutional standards. The FDPA is procedurally flawed in

its failure to safeguard the reliability of evidence, by allowing the admission of

evidence which does not conform to fundamental rules of confrontation and cross-

examination consistent with an adversarial proceeding.         The FDPA fails to

properly guide both prosecutorial and juror discretion, by permitting secret DOJ

proceedings to determine eligibility and by predisposing juries to death sentences.

The FDPA allows for the continued unequal application of the death penalty to

racial minorities as demonstrated by its impermissibly disparate effect on

minorities.   Finally, a death sentence risks the execution of innocent people,

without allowance for exoneration over the course of a natural life. For the reasons

enumerated above, Mr. George moves this Court to strike the FDPA and the death

penalty as unconstitutional.




                                         11
  Case 2:17-cr-00201-LMA-DMD Document 181-1 Filed 11/19/18 Page 12 of 12




                                    Respectfully submitted:

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                        CERTIFICATE OF SERVICE

      I hereby certify that the foregoing has been served upon counsel by filing
under the ECF system on the date of filing, November 19, 2018.

                                    /s/ Bruce G. Whittaker
                                     Bruce G. Whittaker




                                       12
